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 1
     [Submitting Counsel on Signature Page]
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                                 UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
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11   IN RE: SOCIAL MEDIA ADOLESCENT            Case No. 4:22-md-03047-YGR
     ADDICTION/PERSONAL INJURY
12   PRODUCTS LIABILITY LITIGATION             MDL No. 3047
13                                             PLAINTIFFS’ STATEMENT OF RECENT
14                                             DECISION
     This Document Relates to:
15
     ALL ACTIONS                               Hearing:
16                                             Date:      October 27, 2023
                                               Time:      10:30 a.m.
17                                             Place:     Courtroom 1, 4th Floor
                                               Judge:     Hon. Yvonne Gonzalez Rogers
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                   PLS.’ STATEMENT OF RECENT DECISION—NO. 4:22-MD-03047-YGR
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 1          Pursuant to Civil Local Rule 7-3(d)(2), Plaintiffs submit as supplemental authority the

 2 Supreme Court’s October 2, 2023 orders denying the petitions for certiorari seeking review of the

 3 Ninth Circuit’s decision in Planned Parenthood Federation of America, Inc. v. Newman, 51 F.4th

 4 1125 (9th Cir. 2022), cited by Plaintiffs in their briefing regarding the First Amendment. See Exs. 1–

 5 4.1

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 7
     Dated: October 10, 2023               Respectfully submitted,
 8
                                           /s/ Lexi J. Hazam
 9                                         Lexi J. Hazam
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25                                         Plaintiffs’ Co-Lead Counsel
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27  Merritt v. Planned Parenthood Fed’n, No. 22-1147, 2023 WL 6377901 (U.S. Oct. 2, 2023); Newman
     1

   v. Planned Parenthood Fed’n, No. 22-1159, 2023 WL 6377903 (U.S. Oct. 2, 2023); Rhomberg v.
28 Planned Parenthood Fed’n, No. 22-1160, 2023 WL 6377904 (U.S. Oct. 2, 2023); Ctr. for Med.
   Progress v. Planned Parenthood Fed’n, No. 22-1168, 2023 WL 6379019 (U.S. Oct. 2, 2023).
                                                  1
                   PLS.’ STATEMENT OF RECENT DECISION—NO. 4:22-MD-03047-YGR
      Case 4:22-md-03047-YGR            Document 381        Filed 10/10/23      Page 3 of 3




 1                                           ATTESTATION
 2         I hereby attest pursuant to N.D. Cal. Civil L.R. 5–1 that the concurrence to filing of this

 3 document has been obtained from each signatory hereto.

 4
     DATED:       October 10, 2023                      By: /s/ Lexi J. Hazam
 5                                                             Lexi J. Hazam
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                    PLS.’ STATEMENT OF RECENT DECISION—NO. 4:22-MD-03047-YGR
